Case 2:24-cv-00199-KS-MTP    Document 1-3   Filed 12/23/24   Page 1 of 2




          American Osteopathic Association

Commission on Osteopathic College Accreditation

Accreditation of Colleges of Osteopathic Medicine:
COM New & Developing Accreditation Standards

                 Effective September 26, 2023




                            EXHIBIT "B"
     Case 2:24-cv-00199-KS-MTP               Document 1-3         Filed 12/23/24        Page 2 of 2
                              2023 COCA Standards
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Candidate Element 1.4a: Non-Discrimination
A proposed COM must have a policy of non-discrimination and anti-sexual harassment with regard
to students, administrative personnel, faculty and staff based on race, ethnicity, color, sex, sexual
orientation, gender, gender identity, national origin, age, disability, and religion. This must apply to all
proposed COM actions.

A proposed COM or its parent institution must develop a mechanism for students, faculty, and staff
to report alleged discrimination incidents and track their resolution.

    Candidate Submission 1.4a: Non-Discrimination
            1. Provide a copy of the non-discrimination policy.
            2. Describe and provide a flowchart of the process for reporting alleged discrimination
               incidents or sexual harassment and tracking their resolution.


Candidate Element 1.4b: Non-Discrimination for Faith-Based Institutions
The COCA respects the religious mission of faith-based schools. A proposed COM having a religious
affiliation or purpose must have a policy of non-discrimination and anti-sexual harassment with regard
to students, administrative personnel, faculty, and staff but need not apply all selection criteria listed
in Element 1.4a if each omission is directly related to that affiliation or purpose, and so long as the
policies are made known to applicants and the public and do not contravene any other COCA
standard. This must apply to all proposed COM actions.

A proposed COM or its parent institution, must develop a mechanism for students, faculty, and staff
to report alleged discrimination incidents and track their resolution, as appropriate for the proposed
COM’s faith-based mission.

    Candidate Submission 1.4b: Non-Discrimination
            1. Provide the faith-based mission for the proposed COM or its parent institution.
            2. Provide a copy of the non-discrimination policy.
            3. Describe and provide a flowchart of the process for reporting alleged discrimination
               incidents or sexual harassment and tracking their resolution.
Note: Whether or not a proposed COM is a faith-based institution, once a proposed COM elects to
      comply with either element 1.4a or 1.4b, the proposed COM is expected to comply with all
      requirements based on that election irrespective of its faith-based designation.




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Page 18 of 142                                  COM New and Developing Standards
